            Case 3:04-cr-30139-SMY                     Document 538 Filed 05/19/06                          Page 1 of 6          Page ID
~AO 2458      (Rev. 03/06) Judgment in a Criminal Case
                                                                #1036
              Sheet 1



                                       UNITED STATES DISTRICT COURT
                                           Southern District of Illinois
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                             V.
                        CYRUS FULP                                         Case Number:                          3:04-CR-30 I39-0 12-MJR

                                                                           USM Number:                           06653-025

                                                                           William D. Stiehl, Jr.
                                                                           Defendant's   Attorney
THE DEFENDANT:
o pleaded guilty to count(s)       1 and 11 of the Indictment

o pleaded nolo contendere to count(s)
  which was accepted by the court.
o was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                                Offense Ended             Count
21 U.S.C. §841(a)(I and         Conspiracy to distribute and possess with intent to distribute
21 U.S.C. §846                  cocaine, cocaine base and marihuana                                              05/31/2004                 I
21 U.S.C. §841(a)(I)            Possession with intent to distribute cocaine                                     04/02/2004                 1I



       The defendant is sentenced as provided in pages 2 through                  6          of this judgment.   The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)

o Count(s)                                               o is      o are dismissed on the motion of the United States.

          [t is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges In economic circumstances.

                                                                           May 19,2006
                                                                                         .
                                                                           Date of Imposition of Judgment




                                                                           Signature of Judge




                                                                           MICHAEL 1. REAGAN, U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge
          Case 3:04-cr-30139-SMY                       Document 538 Filed 05/19/06                    Page 2 of 6           Page ID
                                                                #1037
AO 245B   (Rev. 03/06) Judgment in Criminal Case
          Sheet 2 - Imprisonment
                                                                                                        Judgment -   Page   2    of   6
DEFENDANT:                   CYRUS FULP
CASE NUMBER:                 3:04-CR-30 139-0 12-MJR



                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


70 Months on each of counts I and 11, to be served concurrently.



    181   Thecourtmakesthe followingrecommendationsto the Bureauof Prisons:
          That the defendant, when possible, be assigned to FPC in Marion, Illinois, and that he be permitted to participate in the
          intensive drug treatment program when and where eligible.



    181   The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
          o    at                                  o    a.m.    o    p.m.     on

          o as notified by the United States Marshal.

    o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before2 p.m.on _
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered                                                             to

a                                                       with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                 Case 3:04-cr-30139-SMY                     Document 538 Filed 05/19/06                   Page 3 of 6          Page ID
                                                                     #1038
AO 2458          (Rev. 03/06) Judgment in a Criminal Case
                 Sheet 3 - Supervised Release
                                                                                                              Judgment-Page   ---1- of             2
DEFENDANT:                        CYRUS FULP
CASE NUMBER:                      3 :04-CR-30139-0 12-MJR
                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Four years on count I and three years on count 11, all such terms to run concurrently.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days after being released on supervision and at least two periodic drug
tests thereafter, not to exceed 52 tests in a one year period.
o           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
C8:!        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
C8:!        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o           The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
            student, as directed by the probation officer. (Check, if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                       STANDARD CONDITIONS OF SUPERVISION
       1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
              each month;
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons;
       6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any personconvicted of a
              felony, unless granted permission to do so by the probation officer;
 10)          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
              contraband observed in plain view of the probation officer;
 11)          the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
              permission of the court; and
 13)          as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
              record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
              defendant s compliance with such notification requirement.
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                                                              #1039
AO 2458   (Rev. 03/06) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                     Judgment-Page   ---i   of   ~
DEFENDANT:               CYRUS FULP
CASE NUMBER:             3:04-CR-30139-0 12-MJR

                                        SPECIAL CONDITIONS OF SUPERVISION


The defendant shall pay any financial penalty that is imposed by this judgment, and that remains unpaid at the
commencement of the term of supervised release. The defendant shall pay the fine in installments of $50 per month
or ten percent of his net monthly income, whichever is greater.
The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's
Office with access to any requested financial information. The defendant is advised that the probation office may
share financial information with the Financial Litigation Unit.
The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any
other anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant
shall immediately notify the probation officer of the receipt of any indicated monies.
The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addition,
drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which
may require residence and/or participation in a residential treatment facility. Any participation will require
complete abstinence from all alcoholic beverages. The defendant shall pay for the costs associated with substance
abuse counseling and/or testing based on a co-pay sliding fee scale approved by the United States Probation Office.
Co-pay shall never exceed the total costs of counseling.
The defendant shall submit to substance abuse testing for the use of a controlled substance or alcohol, not to exceed
52 tests in a one year period, as directed by the probation officer.
The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until
such time as the defendant is released from the program by the probation officer.
          Case 3:04-cr-30139-SMY                         Document 538 Filed 05/19/06                            Page 5 of 6         Page ID
                                                                  #1040
AO 2458   (Rev. 03/06) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment- Page         5    of       6
DEFENDANT:                        CYRUS FULP
CASE NUMBER:                      3:04-CR-30139-012-MJR
                                          CRIMINAL MONETARY                                  PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                               Fine                                     Restitution
TOT ALS           $ 200.00                                                 $ 500.00                               $


o   The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

o   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 V.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Pavee                                 Total Loss*                              Restitution Ordered                     Prioritv or Percental:e




TOTALS                              $                                 o           $                              o

o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 V.S.c. § 3612(g).

181 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     181 the interest requirement is waived for the             ~ fine        0       restitution.
     o    the interest requirement for the           0   fine     0       restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or after
Septemoer 13,1994, but beforeApril 23, 1996.
           Case 3:04-cr-30139-SMY                          Document 538 Filed 05/19/06                Page 6 of 6         Page ID
                                                                    #1041
AO 2458    (Rev. 03/06) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                         Judgment   - Page ---L- of          &
DEFENDANT:                  CYRUS FULP
CASE NUMBER:                3:04-CR-30 139-012-MJR

                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    0     Lump sum payment of $                                 due immediately, balance due

          9.     not later than                                      , or
          o      in accordance           o    C,      9.    D,   o     E, or     9. F below; or
B    0     Payment to begin immediately (may be combined with                  9. C,    9. D, or   9. F below); or
C    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or
D    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    181 Special instructions regarding the payment of criminal monetary penalties:
          Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
          Inmate Financial Responsibility Program. A~ financial penalties that remain unpaid at the commencement of the term of
          supervised release shall be paid at the rate of $50.00 per month, or 10% of defenClant'smonthly net earnings, whichever is
          greater. The $500.00 fine consists of $250.00 on each of counts and II and is due immediately. The $200.00 special assessment
          consists of$100.00 on each of counts 1 & II and is due immediately.


Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment,payment of criminalmonetarypenalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
